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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

IN RE:                                                              In Proceedings
                                                                    under Chapter 13
RICHARD L JOHNSON,

                               Debtor.                              Bk. No.: 18-40432



       TRUSTEE'S MOTION TO DETERMINE FINAL CURE AND PAYMENT
     PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 3002.1(h)

         COMES NOW, RUSSELL C. SIMON, Chapter 13 Trustee, pursuant to Federal Rule of

Bankruptcy Procedure 3002.1(h), and for his Motion to Determine Final Cure and Payment,

states as follows:

         1. The Debtor filed a voluntary petition for relief under chapter 13 of the Bankruptcy

            Code on May 15, 2018; Debtor’s Schedules, Statement of Financial Affairs and

            Chapter 13 Plan were filed on the same day.

         2. Debtor scheduled Vanderbilt Mortgage and Finance Inc. (“Creditor”) on Schedule D,

            as holder of a claim secured by his residence, real property commonly known as 52

            Cater St., Eldorado, IL 62930.

         3. Debtor’s confirmed Fourth Amended Plan provides for this mortgage to be paid by

            the Trustee from July 1, 2018 through the duration of the plan. The plan provided for

            a duration of 48 months; thus, plan payments were scheduled to last through June

            2022.

         4. The Creditor filed a proof of claim on May 21, 2018 (Ct. Claim #1).

         5. Based upon the foregoing, the Trustee has made the following ongoing mortgage

            payments:
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           •   $573.86 (pursuant to Proof of Claim #1) July 2018 (1 payment);

           •   $570.47 (pursuant to Notice of Payment Change filed 05/21/2018) August 2018

               (1 payment);

           •   $569.51 (pursuant to Notice of Payment Change filed 07/18/2018) September

               2018 – June 2022 (46 payments).

           TOTAL AMOUNT DUE THROUGH JUUNE 2022: $27,341.79

       6. On May 24, 2022, Creditor filed a response to the Trustee’s Notice of Final Cure

           asserting that the Debtor owes post-petition payments from September 1, 2021 to the

           present.

       7. The Trustee was the disbursing agent for the payment for which the Creditor claims

           the Debtor is due. The Trustee’s records indicate payments were properly disbursed

           to Creditor pursuant to the plan.

       8. The last disbursement to Creditor was made on May 12, 2022 in the amount of

           $569.51.

       9. Accordingly, the Trustee asserts that when payments are properly applied to Debtor’s

           account, the Debtor will be current as required by the terms of his plan.

       Wherefore, the Trustee respectfully requests an Order deeming the Debtor is current on

his mortgage through June, 2022, and for all other relief this Court deems just and equitable.

Dated: July 30 2020                                  Respectfully submitted,

                                                     /s/ Russell C. Simon
                                                     RUSSELL C. SIMON
                                                     Chapter 13 Trustee
                                                     24 Bronze Pointe
                                                     Swansea, IL 62226
                                                     Telephone: (618) 277-0086
                                                     Telecopier: (618) 234-0124
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                                CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the above and foregoing documentation has been
served to all interested parties included on the Creditor’s Matrix, Debtor, and Debtor’s counsel,
via electronic mail or first-class mail, postage pre-paid, on this the 27ht day of May, 2022.


Richard Johnson
52 Carter St
Eldorado, IL 62930

Brad Olson
101 E DeYoung
Marion, IL 62959

Vanderbilt Mortgage and Finance Inc
P.O. Box 9800
Maryville, TN 37802

Jessica Leach
500 Alcoa Trail
Maryville, TN 37804


                                                     /s/Carman
